~ ~~'      Case 2:15-cv-08017-ODW-AJW
                    ~ ~~• Ptaintiff's Ciaitr and         Document
                                                               (3RDER     1-1 Filed 10/13/15    Page
                                                                                       Clark.stamps date1riem
                                                                                                           of wham
                                                                                                              5 Page
                                                                                                                   fonrn 1sID  #:5
                                                                                                                            rted.
                              #o Go to Smalt Claims Court
NotioP to the person being sued:                                        ~
                                                                                       ORf GINA.L FILED
                                                               ~                          i~t nYthV1~eSt Tlic#t':Gt
• Y'ou are the Def'endant if your natne is listzxl in(2:) o,n. page .2 Qf this
  forxaa,.. 71ic per$on suing you is the Plaintiff, listcd in1.,t on pagc_ 2.
• Yott and tEte E'tnintiffmust go to.court on the trW date listed belaw.lfy,riu
  d+o n(ir go to emM you tna}+ l.osc tlie case.                                '              LOS ANGEL..ES
• lf yrau Iosex tCte cowt can ordet`that your Nvages :noney, or property be               SUPERIOR CO'URT
  take:n. g o pay tlais clairn. -
• E;t-ing wfitnesst:s, recaipts, and any evidenca yoi. nezd to pmve your c.ase.
• Read this fotm and all pal;es.attached to under;:and [he claim agai,nst              5uperior Gouri of Gntlfomia, Gounty of
  yoUl aIId to prote-It Yotir riglita.                                                   LOS 1NOBUS SPEffOR COURT
Avtso al Demandado:
                                                                                                     NORTHSVEST DISTRICT - M RLDG
                                                                                                     6230 SFLhiAR AVEXT
` C.lsW es el Demandaclo si su.nombre fkgm en~'         2) de la pigina 2
  d+e est.e fc►rrnu.taxio, t..a perscsna.que lo decnanda u a! f'Jamarydnata, la que                  vANWS cA, 41401
  lzgura en 0)de la paltiag 2.                                                                   ctarit ltotg 70 Cass r,umhrar
                                                                                                  Casa Nunrber:
>Listed y el DGtna:ndante ticncti que preyecdarse en la Corte cn la fecha det
  juicio indicada a coAtinuaciou Si no se presenta, ptiede perder el caso:
      Si pierde ei easo la corce podria ordenar quele quiten +do su sueido, din«o-u
      otros bienes parri pagr este .reclamb.
• L1eve testigoss te;.ibos y custltluier otra prueba cue neoesite parm prabar su caso:
• Lea: wrte fortnulario y todiLi las pdguxs►s adjuuta.: para cntender lu denanda cn su contm y Fara Proteger sus derechas.



Ttte meflole in tl) and(1) must cto'to court: (Clarkffilseulsection-batow)

~                       ~_
                      D...cL              "P.ime        ~ep~xinent Name aad addr~s of court ~' di-~rent fmm above

    Triu 1
    .~ate'I"~ ~ '~~►-~ ~'
                       '~'
                                                                                        Room$,                       300                3
      Date:                    ~~ 20~ ~                 Cleri. by                                                                     . Deptyty.
    Instructions for the oersort sutnn: S,htERRI R. CARTER, F.~c                                                                      %     .Tk
      'C*u are t1te f'iai;ltifi. The person yrsu are suiug is tlze Defcndaat.
      80ore you fill aut th:s farm, reed Form SC•1 0C LN.E p, .Infqrn~~tio»~or.t~te !'Idfnti,f~; to k4ow your rigbts, Get.
      SC-1 D0-1NF4 at auy cou.rrthouse br county taw librrary„or go to: www.cotks~ca:goVIsmQirerar»~ormv,
      Fil.l oux pages 2and ? eFtlus form: Then make c-opies -crf all.pages oft#us..foan.. (14take 1: cUpy,for.each party named in
      this me and an e~etra copy f.or yourself.) Take cr usail the ori                      and these copies co dze eourt clerk"s otlice a.nd pay
       the fi1 i xa g fee. The cftik evi ll, wr.ite the dste of y,c~sjr trial izi; the br►x abovc:
    ► '~ ou must l~ve sorneonc aE lcast 18--ric~t you o- anyone else liste~i in ttiis ca.~e--giv~ each De€Vnciant acourt.-.stmped
       copy of a115 pages ofthis form and aray pages tzis t'orm te.11s- you to attach> There nre special rulcs for "serving,{' or
       r.teiivering, this forrn to pulatic cntitics, stssociatians, tuYd some businesscs. Sec Forins SC_104:.SC-1048,
       and LSC-1 04C.
    • Go xo court on your Mal dnte llsted ahove. iring vritnesses;. receipt5, srid ac.y cvidertceyaei need tt~ . prov+e your case.

                                                          Pl~lntiff's Claim and ORDER                                            sc-~oo; ~~q f ats
    ~J""ut°°"'•z°ofc„'ora'.
       a»~~.n e. x~,x: r~.ta ,% ~.~, M°'                                                                                                       -~
                        . H ,~4,;U W,~,                   to Go to Small Claims Court
     a:~u4.,i ~a.~.w ~i                                          (Stnall Claims)
      Case 2:15-cv-08017-ODW-AJW Document 1-1 Filed 10/13/15 Page 2 of 5 Page ID #:6

plainjiff(list jjanjeq.- Usa Stone-Molloy,an lodlividupl:


 -01 The Plaintiff (the person, busiiiess, or ptiblic entity that 16 sulng)"Is:
     Nmme: Usa. Stone-Molloy,an i 1 - ual                                                                    (418) 478-3920
    Sixcct fiddvc~, -- 4425 Whllk~eft&642,00                                Studio City           CA           aj'WAL
                        stmoi                                                                      SINA          zo
                                                                                        nta       CA           91214
                                                                            cky                    swp           zo,

     If more than one Plaintiff, list next Plaintiff here:.
     Naj.'ne1---_------                                                                            Phbne:.(

                                                                                                   State         zip
     Mai 1-i ng uddrem.;.(Vdifferew).,
                                                                            COY                    stat.g.       ZP
                                                                                                                  :
   'El Cltez* here ifinow than 2 Plakwfios'ard attach FormX400A
    0'Cheek harc ifeithrr                                                            nafft~, If.m.aaach Pcir"i SC-103.

r2
 i)Thl                                           tisiness,
                                                      ..   or public'entity being sued) is:
     ?   i~dland Fundin
     iiw.PM~
        Midland                           LC "S"'ag
                                         LLC
                                         L~  ~       0'pLn 4 Service Company
                                               '^or oration
                                              ASor~ati~o                                                     (800)825,'9131
     Street addresi-

     Maiiiiig ad'tfi-oi,(rf diff-woo: 2710. Gabmay Oaks.Dr                  Sacramento             CA            95833
                                         S"_4N                              city                   Sla to        zip


     tf more than one Defendant, list next Deferidant here:


     Street addm--%:
                                                                                                  Stfili
     Willing tiddress(ff iitCoretti).
                                         sirm                                                    _9w;__NT_

    0,C      -hack her-e I.fPrOgihdn Z Dtfimdanls, and a
            Chot* hork if a)iy Dqj6denl ds'on ac-IiiewiWa 7diov. and ivkts AO.or her'ba"It hem-


~The Plaintiff'cI41mv -the Defendart owet',$,.2,50,66                               k':X_pjajfr 13 ioij,
 a. WIty doci the.bcfendant owe the.-PWatiUm                                                                       -a new
                coun,tiomned dat6 2Q Mrittis

     1). -When did this happe'n'I (Do4k.
                                                                  0372012                          O§26/2015
     c. Hii w diJ you c iSlt.ij 1 a to-the it,o Ile.Y. Q h) yOli?(00 401.-inchrO coori cas 0 orftes, for sendce.)_
        -   Cfedit decline actual damaaos.
     El qteck, here                                     Otte.,            r1arm.Afc-43j044_wft VC-11661, ltent 3 ai
        tAg top,

~',Arvar~ i 2W                                   Plaintiffs Claim and ORDER
                                                 16 G6't6 S'l-iiall Claims Court                                            41
                                                        iSmail Claims)
                                  ~ 141U6          T
                                                                           .
                                                                       .
                      ~~"' 6 .,,~%~" ~ ~...,~~
                  ~---~-'~                                                        ,~~~~~~'~~ ~~.~~ :~
                                                                                                      PM Fllrm,F! ULOU *R
                 Aim tm~mn.koqv uoi
              v"'LS U*41 -wou-jo'f S*rl S"al J*g 0 VV41 wmt--aw jay.1-:3 -o: pi;,-!~~;Zpun. uc      JW.,ttAIXJ.l
                      Iroddip-ol iLiBli oti oAeq I -tmoswtep iletus kt ww-p..a flujill A.q letr, puiqw:~pvn 1 i
                                                        0q.111ft aTro-ov" 44-y rnlf mil      oN    'S*A [~
       elu.,011103 u I s41ti0u J Z d Isgi 04~ U!LMM SU41012 1 iOws Ja 440Z1,. 4A041 OJOtJj PGj!; nDA aA9H
       u              f "yv-
         -,"J"Into ;,Ij      417 /fq 7,7Atqp RiVI. WWI" XMIXF/0 jOV         401"
                                                            C]
                                                                                      4A*ijo *jjqnd e 6ulns n
                                                                , Awn"I ifli.,
                                    wof47W IV 1.! livIMIt ligi _W                                                      rR
                                                                                                          M-Nrp ow 42* .
                                       4 J,_QA C2, air-dsip oei jualptoftw- 9M ue ;noqe w!up -yroK s ,,TN..
                                  ON C1i
                                                     eAoqe       So ul pa)pap 6060 eqj4p            spoo drz ei4a lsll
    ommn oovjj :;jOym, o ~pw             pw vqi        p".jo %mov m
                                                  Parjarm.1-T Vro 11
           .A!.7 oixrj) vwwj jo          "Tpool
                                              . Pipq--nwq in "Crmj Pmm-z ioj4mwuol ig jajjo          uia
    UAW "p j! Z"w nm inmw- N)014AN            P-.-mg-jo 'Al"a "sit -ryMww) 2111 p4jR, wiml it) iaiatq Aql =q
                                                                                                           'M O - q
                     IMMOW
       U-2,Fr, awwwNpv                                                                          U4n 4    aa   av - kr
                                                                  Ar=,p               Z~
     ,gi                          i4n                                          IM.%        kli-pupid otp                i
                                                                 mulml
                                                                                V=W-M -%A* &OO-NMIAMO.- S~qj,
                                                       Lavooqprsoo gltr, 1p- tumzj~ jnoA, Buliti noA ate XqM
                                                                                                     ami'(4,14               4itufj
                                              Oiv Ei
                                                   - s--A i~ ZS144 +wjop noA eAcH -ons
       noA wopq rvoAfird o; JauoqdAqjor6'wIumAp'uoswaduj) luepueloo ")Ise lsnw tIoA
                                                                                                                            MVIOUMid
Case 2:15-cv-08017-ODW-AJW Document 1-1 Filed 10/13/15 Page 3 of 5 Page ID #:7
                        Information for Document
      Case 2:15-cv-08017-ODW-AJW                the Defendant,   (the
                                                         1-1 Filed      person Page
                                                                     10/13/15   being4 of
                                                                                       sued)
                                                                                          5 Page ID #:8
 "Small claims court" is-a special court.w.how"Clairils Do I have options?
 for $ 5.OM ut less am dwided.. A "natural per~6:1`4,(wr a                   Ye-t 11:you ambehig sued, ytvd cati:
 IiUslness or pub4c.gntity) Mayge-nemlly claim. vp jiD                            S-offie your case befom the trial. If you and -the.
                                                                                  Pl,r,,,,f(_
  S1.0,000I including
                  t             a sole pmpdetor. (*See b-clew fof:                     I        ligree on how 'n  m SrAfle tile Casc, bodi or-. YOL'-mug,
 ex-mptions, i The peccess -is quick        I *end dlica~V, Tf,-c rules -art      nati6,the court. Ask the Small Clairns-Advisor fbr.help-
 -finiple and;nfornOL                                                        • Prdve th{s Is the wrong court.*Scad aietter'to the
  Yoti "r& ihe Defetiditnt—the person- btirig sua The.                            coun befor-c your tria.L explalaing why yoo.O"k thisjs
  pczan who -ig suing you, is the Plaint' A ,                                    (}ii',  Otoq al'ourt. Ask..the coiiTi to disnaisstli4 cklm-
 Do I need a lawyer?                                                              You    must serve (give) a copy-of your letter (by mail or
                                                                                  in -0.ersoa). to -all partie& (Your letter to the coun must
 VOQ JUDY ifilk to a lEt-wyer berom or after'*O Me, But Nq)u
                                                                                  ov you have done this.)
 may tioi have a lawyer reprcsgat yokt in ioowt(miess this-
 is -an -apix-al (torn sismall cfiilms mie),.                                •    Go to the trial and try to win your ca". Bring
                                                                                  witnessel,, reccip% "d any evidenice yvu neM to
 How do i get ready for court.?                                                   ptove yokit ease. To aakesiure:ft witnem-m go -to the
  You. don't have to--file an. y.papers.bc-R)ft yotit tial„ vntmx                 i4f, rt"." form SC_107,nmid the cleft will stibpoenn
'you think thik is the wraft:6mul fbi your &se. But bri tic                      (6*,r)thetli to go.
'Crt YOUt'tn'al 'My -       WitneS';~,,W-    _,and eiidewc tha't
                                             "                               • Sue the person who is suing you. File fortn
 supports your case. And r4ad 'Se Pro              parecsi fiir fo
                                                                'ur               SC- 120,:Defendant'~                  Ihorc ofe soici riliqg
                                                                                  a"dwics you Mtst foll . ow.
 W,W If I need in accommodation?                                             • Agree with the Plain.tift claim and pay the
 1.1' ym hgve a disability or are hearing impaired, fill iDtit                    money. O.r, if-ytiti c3n't pay thu moncy no.w., gti lo
'Fdrin'NTC41 Q. R~quest fi*Arcwww~d4fivns.civt the                                your    tAial and say yoti want it) Make poyments.
 iDtM 10 yottr court clark or the ADAYAccOn Cco.-dinatun.                    •    Let     the    case "defauft." If. you don't,scalt -and &h at
                                                                                  gq to th c trial (default), the judge niay give the Phlititiff
  What If I don't speak English Well?
                                                                                  wh,;at he or slie J.s'Eisking fer pius coumc-osts, r-r   tiijs
 Briog-'aft tAill wha is lict -a witsom to. intcrpret rot ydt;..br .              happens.,thc-plaintifft'anlepily t#d your money,
 a*the oarAcietkforon iat toter at I"qtl3vc6vsb6fbre                              wage.$,- W property to pa±~ thc jyOgmcnt,
  your cow date. A.cokirt-pmvido. inicitre'ter Ally tiot be
  available or them muy he a -fee for using.wcour interpreter- What 0 1 need more time?
                                                                    , -
 inim - you qtWify for- a!fiae wai ver.';YW4mfy.wk' the to-uti Y'ou c.an change the.iiial date iP
                                                                             # Yoii coaridt go -to court on the, schoduled dato (you will
 for a Iiit of interpreters atid also the,4pp1,kaA0tfvr ftilwr
 qrCauri Fm ittod Cost5 (form FW-001.).                                          4vc.10 pay a fcc tp posipene the tfial) 01-
                                                                             . Ydu dUnot get s6rved (rwe ive. th Li order-tb, go to
-Where can I get the court forms I need?
                                                                                 court~). at WAst .15 days before the triiil. (or 20 -day.s. if you
  Go Lu any coarthousc oryour county law library.. tir print
                                                                                  live outsid.e the county) or
                                                                              a Y6u nced more time'ta get aft- 4iterproter. 04o
  Whal happens at the trial?                                                      postpDnernent i*s alloxvcd, and:ypo will oot b&Ye 0. p4y
  T-he i udV.*11 ljiten to bca't.h. ~idv* TheJukige,nvY niake-0                   a Ne to dtlay:the 1641.
                                                     .
  dftition. at.~IABI.dr =il die dec sion to ym later,                        Ask'the .Sm-      Al ditims Clerk a bout-thgi rulatk and fees for
  Whart-ft 11"8*the case?,.                                                  postr.ning       4  t6a). Of rill out form              (orwrit*.s.-,
          u- "i0SL., y''o 0-c'a n q'p pc' A   '1111 have topay I             letter-11   iind'  mm-1 it to thc-Court
                                                                                                              l      otel to,all other  pcople listed
 (Mmliffi canjiot appeal,their-own-daims.)-                                  on   your-coun     'Pappri    before  ttu-  deadline.  Enclose a clieck
        If you were at ttic triM, rile F0r&SC-440,flb.1icv4f            h    for  youf    court    fees,  unle-os  a fee  waiver  Avas gmiited-
                Cof 4`6u 13tust filt- kvithiia*30 daysUifkiwlw i
        juilge's &aisilon.
                                                                                     Need lielp?
                                                                             ?
         , you .%ere nut at the tnal,fill outab.d JaIda
        If                                                                     a. Yotir county's Sinall. Cleirns Advisot, coo help totfi.vv-
        S,Cl- 135..~'qike bfgoiion'to Vacuiv. Jvdgmmi:i2h$
         VeC14MIA011, tb 2~4k the judge 1.0 emoci thtjliiioent
                I          Ifthojodge.does not give you -a vW
        trtowl, ytiu,havc 10 days(a appeal the decision4ile
         FO mvSC-140;
  Fortw(ti"fo(MationonaM als'                     see:

                      hitio,appty ift -an _—Imn      4kaM&U.,                         W.ay.. phii3- J7,11            ftbob.-Inutwit by a mtvrat 34~0 rot,
         to                                                                                                                                          di t,


                                                                            . Cburt
                             Plaintiffs Clairn and ORDER to Go to Small Claims                                                  SCAM paqtj 6 of
        Case 2:15-cv-08017-ODW-AJW
                      lnformacicin.paraDocument
                                        e6 defiy 1-1 ado
                                                      Filed(ta
                                                             10/13/15
                                                               personaPage 5 of 5 Page ID #:9
                                                                       derrtandada
 t.a 'Cortc# de reciamos rnenore.s". ~.~s una enrb espeLiat               ZTerigo otras opr.ioncts?
rionds sa rlecicien casr.s por ~5,000 .6 men0s: Utta "persona             Sl. 5i io estan rtemanr#anda, iiuede:
ns~`:;~ral" .;que a~o sea un negocio ni tina.Enticlad pubiic
                                                        .ai)              • .fipsoivef su caso antes det juicio. Si usted y el
Quede rec4amar hasta.$10.00©. ltna "persuaa aaiural" {que                   .:Damandante.se psarren de acuerdo L-n resolsies et.csso,
dra se.n un negoc=o ni trna entidacf pciblica*, queinr,tuve un               arrsbo's fienan que notif~icar a ia corte. Pldale ai Asesor de
dueno iunicao, genaralrxtEanter pueile ireclanir,r hastn $10,000,              Re3clamos Menore.s que lo ayude.
   &'6a atiajcs para las excepciontis i`l procesods ripido.Y                  • .Probar ique es ia corte equilrecads. Ert+rJe trna ear~~: a la
, taarato: t=as reglas son serycilias e rnforrrtales,                            cGrte antes del juicio explacar:do por qub cree que es la
  Llsted asi e1 Dernantfado —!a pArskorta que sa es'~i dt'qnand-                 corle equsvccada, t'idale a fa corte aue despiria el
  andu; ta:persona que !o est:a derizantiaricio es yi Rejnanda.rile reclamo. Tien.e que enhrejar (dar) una copia de.su rarta
  L'Necesito un abc;gado"?                                                       {por correr o an ~,ersortel a todas las partes fS u ca~ a ta
  Puedei habtar con un abogado anti~s o despuOs tl&I caso.                       s~ris liene que der:ir que hiae ia eritrega.j
  Pero rlcrpclede fe^Ur a un abcigado que ics rapresente ;ante                ~ fr..4 juicio y tratar de gansr:ei.caso. i..leve tdstigOs.,
  ta ';brta te meiir,s que ae trate tie una apaiacian de ur-i caso               r+ecibos.y cualqti,ier prue.ba que.necesite para p(obar su
  Cte 't~Ci~ni^5 filE.^aore~a).                                                  caso,.Para asegurarse que'os tasttgos vayar. :al juicio,
   tCbrno-me pre,paro para ir a la corte?". .                                   -llerts ei torrtiuigrio SC-107; y ei searetario ernitirb-urra
   Nv tier7e que presentar riingurios papelf:s ardes dei juicio, a               orden. def ciDmparecenr,ia ordenfinciotrss que se presenterl..
   m,w~os quo plense qtte 6sr.a es la corte eyriivotada parra su              • Oernandar a la petsona ctue lo demand6. Presente el
              Praro (!oare at juici!s c}.fa!auler testigos rodhos, y             tormularit) SC-120, Reclau'nr, rtei rtamant3arlrs. t-iay fechas
   cc:=aiciurgr pruebas que al3oyan sri cascr. Y rt;a ";ste                      lim;te estrrctas que debe seguir.
   piroparado pata su juicib" en.;                                            • Aceptar el reclamo cfel Dernandante y pagar el
   41 :t•Yt".1:'i ~Lil"~S. E'+~.~t3 ~!~18C.~~rr}OS1T1E?r'rU'rC-~~f 8~38l~SC':    dinero. O, si no puerle pagar en ese momento, vaya ai
  ;,Qu6 hago si neceslto una adaptacion?                                         juicso y diga que quiere hacer los pagos.
  S: tene ime discapacirtan o tieiia impedlmdntos.de                          • No ir' 3.1 juiCio y aceptar el fallo por fatta de
  at;FdicicS'n: Ilene Ql ti~mular+~I4~1C•a1 fJ, f2eqi~ot~              shr       ccsriiparecencia. Si no flsg.: a uri ar :;erdo con ef
  Accoomadadorrs. Ent~~egue.ei form.utarlo.ai sucrstario de ta                   Demandante y no va al j1:i3..io (f8tk'i por fafta cfe
  c~rie Q al Coordinador de Acceso?Af3A de 3u coda.                              coniparecencia), el juQz i® puede otorgar ai Domandantfl
              pasa si no habio ingles bien?                                      l"o qtae esta reclaniandti rnAs los costds de:ta corte: Er► ssp-
   , rag;a a un adulte qua no sRa testigo para, que le'sirva de                  caso, si Demandante iegaimente puede toriiar su dir,ero,
  in:erprete. © pida al secrelario de ia corte.aue,da asigne uno.                su sueido c sus bienes para cobrar al lailo.
  Si.q~.riere q~te la Lt~r~e le ssigrrp un intArprete, !e tlzne que           LQu6 hago si necesito mas tiempo?
.`Wi17:0mb minimo menos cirid,b cli;is ante5 de a fecha sn               Puzrie camElFar la f6cha cf6i iuicid si:
 que tenga aue (r a la corte. Es posi;,le que no t'eya disliortib;e . A!n nut;de ir a la curte en ta tectia prograniada (tir.n,drfl que
     Cr?&arpretP proporcianario .por !a corte o que ta.nya qup             p agmir una cuota para aptaarr ~t Jutcio) o
 pagaruna cc.iata por kiplearun irit6rprete de:ia.cbrte, a             . No le en3regaron los dnCumtsrtes !egatmente (na recihib 1a
 ftlo-nos que teru,}a uria enenc;a.n.de cuolas. F'ueje pedir a te         trrdan para ;r a ta corta j aor in roertas i 5 dias anias tlel.j0-6c
 cxwte- una #ista de intPrpretes y la Ssi[icitud r3e e<ervcfan de          E620 tlias "si vive"fudra drri condadr;j o
 c+►utars y cc>stos de la corte (forznulario FtAi-001.;,               • nieesita rrial tlarnpo pars casaseguirin0rptbte. (Sr' p&irni(e un
 4t?6nde pucsdo obtefler tos farmularios de lacorte ique                  . sotd apiaaarn,*enta sin t®nea que pag®r :-uota para aplazar el
 nec~s#4 t                                                                 juicio).
 vatya a cuetiquier pt3ifiaio r.te la corte:.ia bibiivteca legai de su  Pregtanteie    at secretarto de reclamos arefenores goore la:•
 Lcr1d~, o imprirria ios forrl1ulari~cs cn: ww►v.cwrfs:ca.gov!         regia4s    y las cuotas para apiazar t,n jtaicAo. 0 tleno ei
 srrrallclarrrrs^forrns. {t'a;qina estA en inglAs).                     formu,ario    SC-1   50 (o Qscriba una carta.) y envieio antes cfel
         pasa en el juicte?                                             plazn   a la cc;rte y a trxias ls.s o.ras personas Gue 11guran en
 E3 juaz escuchar6 a ambas partes. El jvez puem;e t". -ar              sus papeles de la corte. Ad;lnta un che~que pasa pagar los
 SAj. declsi~art rifurante !t~ audiencia..c enviarseka por correo       costc+s rie la vorte. a menos clue le hayan daclo una exanci:5n.
+~ltEtSat+~s.
,&Qu6: p,asa sl pierdo ei caso?                                             ? Gidecesita ayutla? Ei Asesor de Recartsos
~t pisrr e. puedb ape.lar. - 1 endr.a :}ue. pagar yna; =ta. (EI              ~  Menores de su condado       ueria ayudar sin cargo.
                                                                                                        le ..p,
                                                                            .--._..              _..._.                       ._.~
Qe-rnaiirlante no prseds applarsu propia•reclarna).
                                                                           r
.;i estuvo prr3ser}te en ei juicic, tlene e; formuado
    5C 't4(l, Avisc o'e apelacibn. Tiene que presertfark~
   4antro rie 30 di~s depc=6s dr~ t., declsian cf9l j~z.
 . Si tlrx estuvQ eri ei juir.io, lierle y prosente el-f7rmuaa6o
    ~-t3~ Awist de.pct~ctdrr ~~`anuler.e~ falh y                           4.vna 'frifofrnacion por condado' en:
    &~ara6& pr;<ra pedirie el.~    jueue.ariule
                                        c{       el Catir~                 w^uw, courts. ca.gnvtrectemoarrtenoras!asesores.
    td~asiC~rt}. Si ia corie no ie,ott~rge un rtuevo jiicin, tiene '       'Excopvlone3 £i r.wn t{liarw~ 14mits~ at+ un, nci~no euntta vyt, "asato. ;Voa+ol
    10 dias para apelat la decEsi6ri, F?resaritc 31 br►nutaria.            Ccelip.da r'rvicedjmian,n c'rvi, *Rt)d& tj6.y2f!';g), fy, Er= uri t~ii* n cswrinda {ro+
                                                                           undi c~r6dw,ngr:~acyKir.~df4~ tfQbldil~L~Wlas tRalC'n'i an ltWl eon-dAndo
    SC='l4Q.                                                               niMv~,i;rii~~Mica~ a~~~~;+im H[r~e+ t!a 51.'St.'~ 7Ri at danlsv'~:3:aa li~rm ~, ~tir<rf:~fl tsr,~~ :uvi
 Pars=obtdyrer                       sut';re.las apeiac6ri-es, vda:        p64 rtl,tY4 n~tr75 to vl~o3ius ~ c~a:x Irit+b la t i r~jpphtilan ~c, defattur-r..Cven il
                                                                          :fi0 r'meetrttrnjQrft Ci+iAe 156..0 -. 11c 22! .

               9012                           Rectarno del Demandante y C?FZDEN                                                                SC-1II0. t7aar 5 nr6
                                            Para Ir a la Corte cie Reclamos Menores
                                                            (f~eclamos M,enores)
